Attachment A
                              EVIDENCE COLLECTED ITEM LOG
                       Return/Production Status Report as of October 20, 2023

                                                                            Return/Production
Item #                  Description
                                                                                  Status
  1      One (1) gray iPhone on dresser
         One (1) gray Apple laptop, Model A2681,      ITEM RETURNED and information deleted from
  2      Serial number FDK2WQY91Y with charging       government systems, 9-15-2023
         cable on coffee table
         One (1) gray Apple laptop, Model A1278,      Folders and files that predate August 22, 2022, 9-15-2023;
  3      Serial number C1MH3DJ9DV13 with power
         cord, on desk
         One (1) gray Macbook Air, Model A1466,       Folders and files that predate August 22, 2022, 9-15-2023;
  4      Serial number C02MM0SNFLCG with
         power cord on desk
         One (1) gray Apple laptop Serial number      ITEM RETURNED and information deleted from
  5
         W80199B7AGZ with power cord on table         government systems, 10-6-2023
         One (1) black rackmount PC on table - NVMe   Returned website code for burke-communications.com,
                                                      mocksession, and lynnhurtak.com, 7-27-2023; returned
  6
                                                      MySQL database files for above websites, 9-13-2023; folders
                                                      and files that predate February 20, 2022, 9-28-2023;
  6      One (1) black rackmount PC on table - HDD    Folders and files that predate February 20, 2022, 9-28-2023;
         One (1) black rackmount PC on table –        Folders and files that predate August 22, 2022, 9-15-2023;
  7
         Samsung NVMe
  7      One (1) black rackmount PC on table – SSD    Folders and files that predate August 22, 2022, 8-9-2023;
  7      One (1) black rackmount PC on table – RAID   Folders and files that predate February 20, 2022, 10-12-23
         One (1) white computer tower on floor –      Folders and files that predate February 20, 2022, 9-15-2023;
  8
         RALLY RAID
         One (1) white computer tower on floor –      Folders and files that predate February 20, 2022, 9-28-2023;
  8
         NVMe 960
         One (1) white computer tower on floor –      Folders and files that predate February 20, 2022, 9-28-2023;
  8
         NVMe 970
         One (1) white computer tower on floor –      Processed and ready to produce folders and files that predate
  8
         HDD RAID (8 Drives)                          February 20, 2022 (requires estimated 2.8 TB of storage);
         One (1) white computer tower on floor –      Folders and files that predate February 20, 2022, 10-12-23
  8
         HDD 9
                          EVIDENCE COLLECTED ITEM LOG
                   Return/Production Status Report as of October 20, 2023

     One (1) white computer tower on floor –        Folders and files that predate February 20, 2022, 9-28-2023;
8
     HDD 10
     One (1) gray Apple laptop, Model A1369,        ITEM RETURNED and information deleted from
9
     Serial number C02GK596DJWT on floor            government systems, 10-6-2023
     One (1) gray Lacie external hard drive on      Folders and files that predate February 20, 2022, 10-12-23
10
     server rack
     One (1) gray Apple laptop, Model A1708,        ITEM RETURNED and information deleted from
12   Serial number C02V94BZHV22 with charging       government systems, 10-6-2023
     cord on the left side of desk
14   One (1) black PC tower on floor                Folders and files that predate August 22, 2022, 8-9-2023;
     Three (3) notebooks from bookshelf             ITEM RETURNED and information deleted from
15
                                                    government systems, 10-12-2023
     One (1) notebook from kitchen counter          ITEM RETURNED and information deleted from
16
                                                    government systems, 10-12-2023
     One (1) Crucial solid state drive Serial       Folders and files that predate August 22, 2022 (partial),
17   number 2136E5CF4SCB from server rack           8-9-2023; ITEM RETURNED and information deleted from
                                                    government systems, 9-28-2023
     One (1) Apple iPhone Model Al387, white-on     ITEM RETURNED and information deleted from
18
     desk;                                          government systems, 10-6-2023
     One (1) Apple iPhone Model A1660, black-on
18
     desk
     one (l) Apple iPhone, Model A1660, silver-on   ITEM RETURNED and information deleted from
18
     desk                                           government systems, 10-18-2023
     One (1) black ORICO external hard drive        ITEM RETURNED and information deleted from
19
     with power cord under desk                     government systems, 8-9-2023
     One (1) black ASUS PC Serial number            Folders and files that predate August 22, 2022 (partial),
20
     CCPDCG0019WM - HDD                             8-9-2023; (complete) 8-17-2023;
     One (1) black ASUS PC Serial number            Folders and files that predate August 22, 2022, 8-17-2023;
20
     CCPDCG0019WM - SSD
     One (1) Crucial solid state drive in black     Folders and files that predate August 22, 2022,
21   enclosure Serial 2039E4B257CF with USB         8-9-2023; ITEM RETURNED and information deleted from
     cable on the desk                              government systems, 9-28-2023
                             EVIDENCE COLLECTED ITEM LOG
                      Return/Production Status Report as of October 20, 2023

      One (1) Crucial solid state drive Serial     Folders and files that predate August 22, 2022,
22    number 2151E5F56D90 on bookshelf             8-9-2023; ITEM RETURNED and information deleted from
                                                   government systems, 9-28-2023
      One (1) black mini PC S/N 2239E66E7B         Folders and files that predate August 22, 2022,
23    from desk                                    8-9-2023; ITEM RETURNED and information deleted from
                                                   government systems, 9-28-2023
      One (1) black Hitachi 500GB hard drive S/N   Folders and files that predate August 22, 2022 (partial),
24
      80G3XZLC with two cords on top of 8          8-9-2023;
DE1   One (1) PNY 64GB USB3 gray                   N/A (internal work product)
